                                                 Notice Recipients
District/Off: 0971−5                   User: admin                         Date Created: 9/14/2022
Case: 22−50339                         Form ID: pdfeoc                     Total: 3


Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Michael Haroutun Miroyan           PO Box 3181   Saratoga, CA 95070−1181
reqntc      Ally Financial, c/o AIS Portfolio Services, LP 4515 N Santa Fe Ave. Dept. APS       Oklahoma City, OK
            73118
15418598 County of Hawaii Real Property Tax Division       25 Aupuni Street      Hilo, HI 96720
                                                                                                            TOTAL: 3




      Case: 22-50339          Doc# 59-2       Filed: 09/14/22        Entered: 09/14/22 16:01:52            Page 1 of
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